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                                      REPLY TO MONTCLAIR OFFICE


                     SUPPLEMENTAL SENTENCING SUBMISSION
                 (Memorandum Served and Filed via ECF; Attachment Sealed)

                                          December 5, 2021

           Via E-mail to Chambers: CaproniNYSDChambers@nysd.uscourts.gov
                                   (With Sealed Appendix Not Filed Via ECF)

    Hon. Valerie E. Caproni, U.S.D.J.
    Thurgood Marshal United States Courthouse
    40 Foley Square
    New York, N.Y. 10007

                 Re:     United States v. Jonathan Burgos, 20-cr-00182 (VEC)

    Dear Judge Caproni:

                 Mr. Burgos is scheduled for sentencing before Your Honor on
    December 7 at 2:00pm. This supplemental sentencing submission addresses two
    issues raised by the Government in its sentencing submission of November 16,
    2021. (As Your Honor may recall, I had agreed not to review the Government’s
    submission in advance of my own as one aspect of the Government’s consent to
    my request for additional time to file my sentencing submission.)

          The issues raised by the Government are: (1) a potential violation of Mr.
    Burgos’ conditions of release involving unauthorized travel to the District of
    Connecticut; and (2), whether Mr. Burgos has an ownership interest in a
    property in Connecticut, where, as noted in the PSR, he intends to reside when
    released. (PSR at ¶ 80, p. 19.) The property is described in the PSR as “owned by
    Ms. Ocasio,” Mr. Burgos’s fiancée. She has written the Court.

            1.     Violation of release conditions.

          Appended to the Government’s sentence memo are voluminous telephone
    records suggesting that Mr. Burgos─despite having travel restricted to the
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Southern and Eastern Districts of New York─was spending time in Waterbury,
Connecticut at his fiancee’s residence. The Government argues Mr. Burgos was
in violation of his conditions of release. (US Memorandum at p. 8.) As the
following discussion will show, however, this situation is based on a simple
misunderstanding on Mr. Burgos’ part concerning restrictions on his travel. As
an initial observation, the very purpose of establishing release conditions is to
assure the defendant’s presence in court when required. It is undisputed that
Mr. Burgos honored every court appearance up to and including his trial.

       Mr. Burgos was arrested on the current charges on February 6, 2020 and
initially detained on consent pending an effort to set suitable conditions of
release. (ECF-4.) On February 11, 2020, he was released on conditions that
included home detention, electronic monitoring, and the travel restrictions
described above. (ECF-16.) On May 8, 2020, Your Honor granted a motion, with
the Government’s consent, to remove the conditions of home confinement and
location monitoring. (ECF-40.) As noted in that endorsed motion, Pretrial
Services no longer considered the conditions necessary.

      In discussing this issue with Mr. Burgos in the context of the
Government’s sentence memorandum, it appears to be a case, as noted above, of
an honest misunderstanding on his part. In Mr. Burgos’ mind, once the home
detention and location monitoring conditions were removed, he was free to travel
to Connecticut to see his fiancée and the children who view Mr. Burgos as their
father.1 Waterbury, Connecticut is approximately 30 miles from the
northeastern borders of the Southern District of New York.

      I also discussed this issue earlier this week with Mr. Burgos’ Pretrial
Services Officer, Dayshawn Bostic. Officer Bostic advised me that Mr. Burgos
never sought permission to travel to Connecticut. He also advised me, however,
that had permission been sought, Pretrial Services would not have had a
problem with it and that had a motion been brought to enlarge Mr. Burgos’
travel restrictions to include the adjacent District of Connecticut, Pretrial would
not have objected. Without speaking for the Government, I doubt the
Government would have objected so long as Pretrial was on board. Mr. Bostic

      1
       It is noted that in the PSR (and in her letter to the Court), Ms. Ocasio
describes Mr. Burgos as “a father figure to her children whose fathers have not
been involved in their lives.” (PSR at ¶78, p. 18.)
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further informed me that Mr. Burgos was in apparent compliance with all other
release conditions.

       In sum and substance, this is a case (if the Court will forgive the sports
metaphor) of “no-harm, no-foul.” The reality is that Mr. Burgos appeared in
court whenever he was required to, the very goal of imposing release conditions
in the first place. He regrets, and apologizes for, his mistaken impression that
there was no bar on his travel to an adjoining district to be with his fiancée and
the children who regard him as their only real father.

      2.    The Connecticut Property.

       In its sentence memorandum, the Government raises the issue of whether,
and to what extent, Mr. Burgos has an ownership interest in the Waterbury,
Connecticut property, pictured below, center. (US Memorandum at p. 8.)
Submitted herewith to Your Honor and the Government (under seal since they
are rife with signatures, bank account numbers and other protected information)
are the closing documents for the property (hereinafter “SA”).




I have discussed this issue with the people immediately involved, including the
paralegal member of the closing attorney’s staff who oversaw the closing
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documents, the necessary payments, and the actual closing.

       This property was purchased by Rachel Ocasio on May 16, 2019 for
$95,000. (SA-7.) The source of the cash was the lifetime savings of Ms. Ocasio
and her mother, Sylvia Brankers. (Ms. Brankers has also written an earlier
letter to the Court.) Ms. Ocasio was the source of the $40,000 check at SA-10;
Ms. Brankers was the source of the second check at SA-10. Each advises that
Mr. Burgos contributed no funds to this transaction.

      Approximately three weeks after the closing, in her capacity as owner of
the property solely in her name in fee simple (SA-4), Ms. Ocasio issued a Quit
Claim Deed to Mr. Burgos so that the property was (and remains) co-owned by
Ms. Ocasio and Mr. Burgos as tenants in common. (SA-11.) Based on
conversations with the parties, including Ms. Ocasio and Ms. Brankers, this can
best be described as an ill-advised gesture on Ms. Ocasio’s part to demonstrate
her love for and commitment to the man she plans to marry. Whatever the ins
and outs of property law are, neither Ms. Ocasio nor Mr. Burgos regard this
property as anything but Ms. Ocasio’s since the funding all came from her and
her mother. It is my understanding that steps are being taken through Ms.
Ocasio’s real estate attorney to reverse this transaction.

      3.    Conclusion.

      The Court’s time and attention to this supplemental submission are
appreciated. On December 7, I will reiterate my position that Mr. Burgos should
be sentenced to time-served followed by a period of supervised release.

                                     Respectfully submitted,
                                          /s/
                                     David A. Ruhnke
                                     Counsel to Jonathan Burgos

Cc: via email with sealed appendix (SA) included:

   AUSA Micah F. Fergenson
   AUSA Samuel P. Rothschild
